            Case 1:19-cr-00338-GHW Document 73 Filed 01/11/21 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

 UNITED STATES OF AMERICA,                                                      CONSENT TO PROCEED BY VIDEO OR
                                                                                TELE CONFERENCE
                             -against-
                                                                                1:19-cr-00338-GHW
Moazu Kromah

                                                 Defendant(s).
-----------------------------------------------------------------X

            Moazu Kromah
Defendant ______________________________________          hereby voluntarily consents to
participate in the following proceeding via _X_ videoconferencing or _X_ teleconferencing:

___      Initial Appearance Before a Judicial Officer

___      Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

___      Bail/Detention Hearing

_X_      Conference Before a Judicial Officer



_______________________________                                      _________________________________
Defendant’s Signature                                                Defendant’s Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

Moazu Kromah
_____________________________                                        Jeff Chabrowe
                                                                     _________________________________
Print Defendant’s Name                                               Print Counsel’s Name


This proceeding was conducted by reliable video or telephone conferencing technology.

 January 11, 2021
___________________                                                  _________________________________
Date                                                                 U.S. District Judge/U.S. Magistrate Judge
